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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                       :      CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC, :                  BANKRUPTCY NO. 22-10609 (AMC)

                       Debtor.               :


                                 CERTIFICATE OF SERVICE

         I, Robert M. Greenbaum, Esquire, hereby certify that on the 9th day of February, 2024,1

directed to be served a copy of the Debtor’s Objection to Proof of Claim No. 19 filed by Ani &

Joe Abatement & Demolition LLC and Notice of Objection to Claim, Response Deadline and

Hearing Date upon the parties on the attached list in the manner described thereon.



                                             KARALIS PC


                                             By:    /s/ Robert M. Greenbaum
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Dated: February 9, 2024
              Case 22-10609-amc              Doc 403-4 Filed 02/09/24 Entered 02/09/24 16:03:27                           Desc
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